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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO. 0:19-CV-61140


  BLAKE TURIZO, individually and on behalf of a
  class of others similarly situated,

         Plaintiff,

  v.

  JIFFY LUBE INTERNATIONAL, INC.,

        Defendant.
  __________________________________________/

                        UNOPPOSED MOTION FOR EXTENSION OF TIME
                           TO FILE JOINT SCHEDULING REPORT

        Plaintiff BLAKE TURIZO (“Plaintiff”), by and through undersigned counsel, files this

 Unopposed Motion for Extension of Time For the Parties to File a Joint Scheduling Report and

 Proposed Scheduling Order. In support, Plaintiff states as follows:

        1.         On May 05, 2019, Plaintiff commenced the above captioned action, on a class

 action basis against Defendant JIFFY LUBE INTERNATIONAL, INC. (“Defendant”), alleging

 violations of the Telephone Consumer Protection Act, 47 U.S.C. § 226 (the “TCPA”). See D.E. 1.

        2.         On May 06, 2019, this Court issued an Order requiring the above captioned parties

 to file a Joint Scheduling Report and Proposed Order on or before June 11, 2019. See D.E. 4.

        3.         On June 11, 2019, Defendant JIFFY LUBE INTERNATIONAL, INC.

 (“Defendant”), filed an unopposed Motion for Extension of Time for the Parties to file a Joint

 Scheduling Report and Proposed Scheduling Order. See D.E. 11.




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        4.         On June 12, 2019, this Court granted Defendant’s Motion for Extension of time,

 allowing the Parties until June 25, 2019, to file a Joint Scheduling Report and Proposed Scheduling

 Order. See D.E. 12.

        5.         On June 19, 2019, Defendant filed a Motion to Dismiss for, among other things,

 lack of subject matter jurisdiction (the “Motion to Dismiss”). See D.E. 13.

        6.         Pursuant to the Motion to Dismiss, Defendant raises issues which require the

 joinder of an additional and otherwise indispensable party, namely, the franchisee of Defendant

 that allegedly caused the communication in question that serves as the basis of Plaintiff’s claims

 TCPA claim(s) Defendant.

        7.         Due to the indispensable nature of Defendant’s franchisee, as well as those other

 issues raised by Defendant in the Motion to Dismiss, on or before July 03, 2019, Plaintiff shall file

 his First Amended Complaint, wherein the appropriate franchisee of Defendant will be included

 as a co-defendant, as well as to address any pleading issues raised by the Motion to Dismiss.

        8.         In light of Plaintiff’s anticipated First Amended Complaint, as well as the

 indispensable nature of the appropriate franchisee of Defendant, Plaintiff, respectfully, requests an

 extension to file the Joint Scheduling Report and Proposed Scheduling order until August 08, 2019.

        9.         The requested extension will allow Plaintiff, Defendant, and the soon-to-be-added

 co-Defendant, to appropriately coordinate, confer, and produce a more accurate and thorough Joint

 Scheduling Report and Proposed Scheduling Order. Further, this extension will allow Plaintiff

 appropriately effectuate service of process on the franchisee of Defendant in question.

        10.        Defendant does not oppose the relief requested herein.

        11.        This Motion for Extension is filed for good cause and not for purposes of delay.



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        WHEREFORE, Plaintiff, respectfully, requests that this Court enter an Order granting an

 extension of time until August 08, 2019, for the Parties to file their Joint Scheduling Report and

 Proposed Scheduling Order.

                         CERTIFICATE OF GOOD FAITH CONFERENCE

        The undersigned counsel certifies that he has conferred with Defendant’s counsel, who

 does not object to the relief sought here.

        DATED: June 25, 2019
                                                                Respectfully Submitted,

                                                                 /s/ Jibrael S. Hindi                                       .
                                                                JIBRAEL S. HINDI, ESQ.
                                                                Florida Bar No.: 118259
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                                                                COUNSEL FOR PLAINTIFF




                                         CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 25, 2019, the foregoing was electronically

 filed the foregoing document with the Clerk of the Court using the CM/ECF system, which will

 send notification of such filing to counsel or parties of record

                                                                      /s/ Jibrael S. Hindi                              _   .
                                                                     JIBRAEL S. HINDI, ESQ.
                                                                     Florida Bar No.: 118259




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